      Case 2:20-cv-00262-JAP-GBW Document 24 Filed 06/12/20 Page 1 of 3



                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO



RONALD HURD,

       Plaintiff,

v.                                                      Civ. No. 20‐262 JAP/GBW

NOVARTIS PHARMACEUTICALS
CORPORATION,

       Defendant.

                           INITIAL SCHEDULING ORDER

       This case is assigned to me for scheduling, case management, discovery and

other non‐dispositive motions. The Federal Rules of Civil Procedure, as amended, as

well as the Local Rules of the Court will apply to this lawsuit.

       The parties, appearing through counsel or pro se, will “meet and confer” no later

than July 13, 2020, to formulate a provisional discovery plan. Fed. R. Civ. P. 26(f). The

time allowed for discovery is generally 120 to 180 days. In formulating the discovery

plan, counsel and pro se parties should discuss the topics on which discovery may be

needed, as well as the preferred length and nature of the discovery period (i.e., whether

discovery should be conducted in bifurcated phases or limited to particular issues).

       During the meet‐and‐confer session, the parties should also discuss: (1) the

exchange of initial disclosures pursuant to Rule 26(a)(1); (2) the nature and bases of

their claims and defenses; (3) all facts and law pertaining to the case to which the parties
      Case 2:20-cv-00262-JAP-GBW Document 24 Filed 06/12/20 Page 2 of 3



are willing to stipulate; and (4) the possibility of settlement.

       Following the meet‐and‐confer session, the parties will cooperate in preparing a

Joint Status Report and Provisional Discovery Plan (“JSR”) that follows the sample JSR

available at the Court’s website.1 The blanks for suggested/proposed dates are to be

filled in by the parties. Actual dates will be promulgated by order of the court shortly

after entry of the JSR. Plaintiff, or Defendant in removed cases, is responsible for filing

the JSR by July 20, 2020. Good cause must be shown and the Court’s express and

written approval obtained for any modification of the dates in the scheduling order that

issue from the JSR.

       Initial disclosures under Fed. R. Civ. P. 26(a)(1) shall be made within fourteen

(14) days of the meet‐and‐confer session.

       A Rule 16 scheduling conference will be conducted by telephone on August 3,

2020, at 2:00 p.m. Parties shall call Judge Wormuth’s teleconference line at (877) 402‐

9753, access code 7578461 to be connected to the proceedings.

       At the Rule 16 scheduling conference, counsel will be prepared to discuss

discovery needs and scheduling, all claims and defenses, the use of scientific evidence

and whether a Daubert2 hearing is needed, initial disclosures, and the time of expert

disclosures and reports under Fed. R. Civ. P. 26(a)(2). We will also discuss settlement



1 Please visit the Court’s website at www.nmd.uscourts.gov/forms to download the standardized Joint
Status Report and Provisional Discovery Plan form.
2 Daubert v. Merrell Dow Pharmaceuticals, 509 U.S. 579 (1993).



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      Case 2:20-cv-00262-JAP-GBW Document 24 Filed 06/12/20 Page 3 of 3



prospects and alternative dispute resolution possibilities and consideration of consent

pursuant to 28 U.S.C. § 636(c). Client attendance is not required.

      Plaintiff, appearing through counsel or pro se, is responsible for notifying any

unserved parties—or parties that have been served but have not yet entered an

appearance in this matter—of the content of this order.

      Pre‐trial practice in this case shall be in accordance with the foregoing and with

the rules laid out in Judge Wormuth’s court website page. Counsel are directed to

familiarize themselves with those rules found at

https://www.nmd.uscourts.gov/content/honorable‐gregory‐b‐wormuth under the tabs

labelled “Rules and Courtroom Decorum for All Cases” and “Procedures for Civil

Discovery and Settlement Matters.”

      IT IS SO ORDERED.




                                         ____________________________________
                                         GREGORY B. WORMUTH
                                         UNITED STATES MAGISTRATE JUDGE




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